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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 18-3893-RGK (AGRx)                                         Date      February 28, 2019
 Title             Edwardo Munoz v. 7-Eleven, Inc.




 Present: The                    Alicia G. Rosenberg, United States Magistrate Judge
 Honorable
                 Karl Lozada                             XTR 02/28/2019                            N/A
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Steven L Woodrow                                        Julie R Trotter
 Proceedings:                  MINUTE ORDER RE TELEPHONIC DISCOVERY CONFERENCE

         Case is called. Counsel state their appearances.

        On February 28, 2019, the court conducted a telephonic discovery conference to address the
items listed on the parties’ Joint Report filed on February 26, 2019 (Dkt. No. 54).

         The court took Item No. 1 under submission.

         IT IS ORDERED that:

         1.         Counsel will confer about a stipulation to a fact(s) that would render the requested
                    discovery in Item No. 2 unnecessary without conceding the relevance or admissibility of
                    such fact(s). The conference of counsel shall be completed on or before March 14, 2019.
                    If the parties do not contact the Courtroom Deputy Clerk, Karl Lozada, on or before that
                    date, the court will assume Item No. 2 has been resolved.

         2.         As to Item No. 3, the court ordered the following briefing and hearing schedule: Plaintiff
                    shall file his motion to compel on or before March 8, 2019. Defendant shall file an
                    opposition on or before March 15, 2019. Plaintiff may file an optional reply on March
                    22, 2019. Unless otherwise ordered, the telephonic hearing shall be held on March 28,
                    2019 at 10:00 a.m.

         IT IS SO ORDERED.

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                                                               Initials of Preparer   kl



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